       Case 1:15-cr-00209-LJO-SKO Document 95 Filed 06/09/16 Page 1 of 2



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 5 Attorney for Defendant, NINA JOHNSON

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 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10 UNITED STATES OF AMERICA,                          )   Case No. 1:15-CR-00209-LJO
                                                      )
11                 Plaintiff,                         )   STIPULATION AND ORDER
                                                      )   CONTINUING CHANGE OF PLEA
12          v.                                        )   HEARING
                                                      )
13 NINA JOHNSON,                                      )   Old Date: June 20, 2016
                                                      )   Old Time: 9:30 AM
14                 Defendant.                         )   Court: Hon. Lawrence J O’Neil
                                                      )
15
                                                          NEW Date: Tuesday July 5, 2016
16                                                        NEW Time:9:30 a.m.,
                                                          Court: Hon. Lawrence J O’Neil
17         Defendant, NINA JOHNSON is currently set for a Change of Plea Hearing on June 20,
18 2016. It is hereby stipulated by and between the defendant, through her attorney Salvatore Sciandra

19 and the Government by and through its attorney Brian Delaney that the Change of Plea Hearing be

20 continued to July 5, 2016.

21         The reason for this request to continue the Change of Plea Hearing is that counsel will be
22 unexpectedly undergoing knee surgery on June 15, 2016 and has been informed by his doctor that

23 he may not be recovered sufficiently to travel to court by June 20, 2016. Although counsel was

24 aware that knee surgery was necessary, the surgery was unexpectedly scheduled for June 15, 2006.

25 Counsel was also informed that if he did not take advantage of scheduling the surgery for June 15,

26 another date for surgery would not be available until the end of July.
27 / / /

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        Case 1:15-cr-00209-LJO-SKO Document 95 Filed 06/09/16 Page 2 of 2



 1
     Dated: June 9, 2016                                                        _/s/Salvatore Sciandra
 2                                                                              Attorney For Defendant
                                                                                NINA JOHNSON
 3

 4

 5 Dated: June 9, 2016                                                          BENJAMIN B. WAGNER
                                                                                United States Attorney
 6
                                                                                By: /s/ Brian Delaney
 7
                                                                                Telephonically approved June 8, 2016
 8                                                                              Brian Delaney
                                                                                Assistant U.S. Attorney
 9
10

11
                                                                        ORDER
12
               The court has reviewed and considered the stipulation of the parties and good cause
13
     appearing IT IS ORDERED that the change of plea hearing in this matter currently set for June 20,
14
     2016 at the hour of 9:30 AM be continued to July 5, 2016 at the hour of 9:30 AM.
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17 IT IS SO ORDERED.

18
          Dated:         June 9, 2016                                       /s/ Lawrence J. O’Neill _____
19                                                                   UNITED STATES CHIEF DISTRICT JUDGE

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     United States v. NINA JOHNSON
     Stipulation and [Proposed] Order to Continue Change of Plea Hearing
     Case No. 1:15CR 00209-LJO
                                                                    2
